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                         UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF PENNSYLVANIA

IN RE PHILIPS RECALLED CPAP, BI-                    Master Docket: No. 21-mc-1230
LEVEL PAP, AND MECHANICAL                           MDL No. 3014
VENTILATOR PRODUCTS LITIGATION

THIS DOCUMENT RELATES TO:

All Actions Asserting Claims for Personal
Injury Brought by SoClean Users

KONINKLIJKE PHILIPS N.V., PHILIPS
NORTH AMERICA LLC, PHILIPS
HOLDING USA, INC., PHILIPS RS
NORTH AMERICA LLC, and PHILIPS RS
NORTH AMERICA HOLDING
CORPORATION,

                     Defendants / Third-
                     Party Plaintiffs,

              -v-

SOCLEAN, INC., and DW MANAGEMENT
SERVICES, LLC

                     Third-Party
                     Defendants.


 SOCLEAN, INC.’S MOTION FOR CLARIFICATION FOLLOWING THE COURT’S
                      SEPTEMBER 6, 2024 ORDER


       SoClean, Inc. (“SoClean”) and DW Management Services, LLC (“DW Management”)

respectfully request clarification from the Court regarding the Court’s September 6, 2024 Order

Granting the Philips’ Parties’ Motion to Treat the Documents Produced in MDL No. 3021 (the
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“SoClean MDL”) as produced in MDL No. 3014 (the “Philips MDL”).1 Philips insists that

discovery relating to the contribution claims has begun as a result of the Court’s September 6,

2024 Order. SoClean respectfully requests clarification.

        First, SoClean should not be required to adhere to the discovery deadlines for the reasons

listed in the Motion for Clarification filed by SoClean’s current counsel in MDL No. 3021 on

September 13, 2024.

        Second, the discovery deadline in MDL 3021 is not applicable to SoClean in the third-party

contribution case filed in MDL 3014. SoClean does not need to respond to the Amended Third-

Party Complaint seeking contribution and indemnity until October 3, 2024. SoClean is entitled to

fully brief and assess any motions before discovery can begin. SoClean in good faith believes it

has meritorious arguments to dismiss or strike all or part of the Amended Third-Party Complaint.2

It is entitled to an opportunity to make those arguments before commencing costly and burdensome

discovery. SoClean disagrees with Philip’s assertion in its September 16, 2024 Opposition to

SoClean Motion for Clarification that “these documents are going to be produced in the Philips

MDL no matter what”. If SoClean is successful (as it believes it will be) in getting the Amended

Third-Party Complaint dismissed, these documents will not be produced because no discovery will

take place in this case.

        Third, importantly, “[a] party may not seek discovery from any source before the parties


1
  Lewis Brisbois has just been retained to represent SoClean with respect to the third-party
claims for contribution case filed in MDL 3014 and the purported class action claims filed in
MDL 3021and submits this separate request for clarification.
2
 For example, SoClean intends to challenge, among other things, Philips’ standing to sue under
several of the state contribution statutes. For example, Colo. Rev. Stat. § 13-50.5-101 states: “A
tortfeasor who enters into a settlement with a claimant is not entitled to recover contribution
from another tortfeasor whose liability for the injury or wrongful death is not extinguished by the
settlement”. Philips and the settling parties expressly agreed not to release SoClean and similar
companies from liability in their Settlement Agreement.
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have conferred as required by Rule 26(f), except in a proceeding exempted from initial disclosure

under Rule 26(a)(1)(B), or when authorized by these rules, by stipulation, or by court order.”3 Fed.

R. Civ. P 26(d)(1). Thus, in MDL 3014, discovery cannot even commence on the newly filed

claims by Philips until the Rule 26(f) conference has occurred. Philips claims in its September 16,

2024 Opposition Motion to SoClean’s Motion for Clarification that “[the Rule 26(f) conference]

was done long ago: everyone knows who the relevant people and discovery systems are” (emphasis

added). This is untrue. Philips has casually imputed SoClean’s pre-existing defense counsel’s

knowledge to Lewis Brisbois who is now appearing for the first time in MDL 3014. The respective

counsel for SoClean did not work together previously in the MDL 3021 litigation and they have

been retained separately as a result of Philips’ newly filed lawsuits seeking recovery on new

claims. SoClean’s counsel in the contribution case has not been a part of any discovery conference

and does not have the relevant knowledge Philips describes.

          Fourth, Philips legal theories to support their claims for recovery in MDL 3021 are

different from claims asserted by Philips in MDL 3014. As such, different discovery issues will

arise, assuming the new claims survive to the discovery phase. While some previously completed

discovery may be relevant and can be used for efficiency when discovery begins, there will be

different issues and analysis and likely a need for additional discovery. SoClean cannot be forced

to forego its right to engage in a proper defense of these new claims.

          Many problems exist with respect to the purported class action case Philips just filed in

3021. There is no proper identification of who comprises the class and how they can even know

this before the opt-out period for their settlement has closed, to name a few. SoClean cannot be

expected to participate in discovery before these threshold issues are addressed. Therefore,


3
    None of these exceptions are applicable to this case.
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discovery should not commence until this very preliminary issue has been fully briefed.

       In addition , SoClean and DW seek confirmation that the stay with respect to the DW

defendants in MDL 3021 applies to the claims against them recently filed in MDL 3014. The same

reasons apply to the newly filed causes of action against DW and the action should be stayed,

including the DW defendant’s obligation to respond to the complaint.

                                            Conclusion

        SoClean, via its newly retained counsel Lewis Brisbois, seeks clarification from the Court

that the discovery deadlines in MDL 3021 do not apply to SoClean in the MDL 3014 litigation

because: (1) newly retained counsel for SoClean has just recently entered the litigation in MDL

3014; (2) newly retained counsel for SoClean is not yet familiar with all of the written discovery

produced in MDL 3021 and needs time to review and analyze the same; (3) newly retained counsel

for SoClean did not work directly with SoClean’s separately retained defense counsel in MDL

3021 and cannot be imputed to have same knowledge ; (4) discovery cannot begin until the Fed.

R. Civ. P. 26(f) conference, which has not occurred; (5) the litigation in MDL 3014 involves claims

of contribution, which are different than the causes of action asserted by Philips in MDL 3021; (6)

as such, the two claims involve different discovery issues; and (7) SoClean is entitled to an

opportunity to assess and brief on the pleadings before engaging in discovery.

       Last, we seek clarification from the court that the stay as to the DW defendants applies to

the new causes of action. SoClean and DW are committed to full cooperation and efficiency in this

litigation but are entitled to a fair opportunity to properly defend their claims against them.
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                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the within Motion for Clarification has

been served upon all counsel of record via the Court’s ECF system, on this 18th day of

September 2024.

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Respectfully submitted,
